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                                                        #:10909


                        1     RUSS, AUGUST & KABAT
                              Marc A. Fenster, SBN 181067
                        2     mfenster@raklaw.com
                              Ben Wang, SBN 228712
                        3     bwang@raklaw.com
                              Andrew D. Weiss, SBN 232974
                        4     aweiss@raklaw.com
                              12424 Wilshire Boulevard
                        5     Twelfth Floor
                              Los Angeles, California 90025
                        6     Telephone: (310) 826-7474
                              Facsimile: (310) 826-6991
                        7
                        8     Attorneys for Plaintiff
                              SPEX TECHNOLOGIES, INC.
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                                               UNITED STATES DISTRICT COURT
                       11
RUSS, AUGUST & KABAT




                                              CENTRAL DISTRICT OF CALIFORNIA
                       12
                                                          SOUTHERN DIVISION
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                       14
                       15    SPEX TECHNOLOGIES, INC.,             Case No. 2:16-CV-07349-JVS (ARGx)

                       16                     Plaintiff           PLAINTIFF SPEX
                                                                  TECHNOLOGIES, INC.'S
                       17    v.                                   MEMORANDUM OF POINTS AND
                                                                  AUTHORITES IN SUPPORT OF
                       18    APRICORN,                            ITS MOTION TO TAX COSTS
                                                                  FOR VISUAL AIDS PURSUANT
                       19                     Defendant.          TO 28 U.S.C. § 1920(4) AND L.R. 54-
                                                                  3.12
                       20
                       21                                         Hearing:
                                                                  Date: May 4, 2020
                       22                                         Time: 1:30 p.m.
                                                                  Place: Courtroom 10C
                       23                                         Judge: Hon. James V. Selna
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                                  SPEX’S BRIEF IN SUPPORT OF MOTION TO TAX COSTS FOR VISUAL AIDS
                                             PURSUANT TO 28 U.S.C. § 1920(4) AND L.R. 54-3.12
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                        1          Under 28 U.S.C. § 1920 and Local Rule 54-3.12, plaintiff SPEX
                        2    Technologies, Inc. (“SPEX”) seek costs for demonstrative visual aids used at trial,
                        3    and requests that the Court tax costs of $68,188.00 that SPEX incurred preparing
                        4    visual aids. (Invoices at Ex. A).
                        5          The Court may award costs for preparing visual aids under § 1920(4) and/or
                        6    L.R. 54-3.12. Little Oil Co., Inc. v. Atlantic Richfield Co., 852 F.2d 441, 448 (9th
                        7    Cir. 1988) (“Costs for items such as summaries, computations, charts, graphs, etc.
                        8    are recoverable under 28 U.S.C. § 1920 and Local Rule [54-3.12] for the Central
                        9    District of California.”); Pom Wonderful LLC v. Ocean Spray Cranberries, Inc., No.
                       10    CV 09-00565 DDP RZX, 2012 WL 4936470, at *1 (C.D. Cal. Oct. 17, 2012) (“Local
                       11    Rule 54–4.13 allows taxation of costs for ‘[s]ummaries, computations, polls,
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                       12    surveys, statistical comparisons, maps, charts, diagrams, and other visual aids
                       13    reasonably necessary to assist the jury or the Court in understanding the issues at the
                       14    trial.’ C.D. Cal. L.R. 54–4.13(a).”); TCL Comms. Technology Holdings, Ltd. v.
                       15    Telefonaktienbolaget LM Ericsson et al, SACV 14-00341 JVS (ANx) (C.D. Cal.
                       16    February 22, 2018) (Ex. B)(same).
                       17          SPEX paid TrialEdge LLC (“TrialEdge”) to prepare its demonstrative trial
                       18    exhibits. As shown in its invoices, TrialEdge worked on these demonstrative exhibits
                       19    from January 20, 2019 to February 6, 2020. (Ex. A). The Court held a 6-day jury
                       20    trial starting from January 30 to February 7, 2020, during which SPEX and it
                       21    witnesses used the demonstrative exhibits TrialEdge prepared.
                       22          SPEX’s demonstrative exhibits were reasonably necessary to assist the Court
                       23    in understanding complex issues at trial. Those issues included SPEX’s infringement
                       24    allegations against Apricorn’s accused products, which required display of
                       25    numerous technical diagrams and depictions, including chip and electrical diagrams.
                       26    SPEX and its witnesses, including expert witnesses, used SPEX’s demonstrative
                       27    exhibits to illustrate complex concepts such as infringement of means-plus-function
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                                SPEX’S BRIEF IN SUPPORT OF MOTION TO TAX COSTS FOR VISUAL AIDS
                                           PURSUANT TO 28 U.S.C. § 1920(4) AND L.R. 54-3.12
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                                                        #:10911


                        1    claim terms; multi-factor Georgia Pacific reasonable royalty damages models; and
                        2    unpacking license agreements.
                        3          SPEX is seeking taxation of only the highlighted items in Exhibit A, which
                        4    concern the preparation of demonstrative visual aids to be used at trial by Erin Doyle
                        5    and Sarah Southwell, who were involved only with preparation of trial
                        6    demonstratives. Buczko Decl. ¶ 4. SPEX is not seeking costs associated with the
                        7    intellectual effort or strategic work by TrialEdge. SPEX is also not seeking taxation
                        8    of technical or presentation work. Indeed, SPEX has been conservative in favor of
                        9    Apricorn. For example, Jeremiah Kelman of TrialEdge worked to prepare trial
                       10    demonstrative visual aids, but also provided higher-level consulting services.
                       11    Buczko Decl. ¶ 4. SPEX is not seeking taxation of any of Mr. Kelman’s billed
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                       12    entries. In addition, Leveracity LLC performed work to prepare trial demonstratives,
                       13    but also provided technical assistance including “hot seat” operation at trial. Buczko
                       14    Decl. ¶ 5. SPEX is not seeking taxation of any of Leveracity’s charges.
                       15          For the above reasons, SPEX requests that the Court tax the $68,188.00 in
                       16    costs SPEX incurred for TrialEdge’s work preparing demonstrative graphics in the
                       17    form of visual aids.
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                                                                    Respectfully submitted,
                       20
                             DATED: April 6, 2020                   RUSS, AUGUST & KABAT
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                       22                                             /s/ Marc A. Fenster
                                                                       Marc. A. Fenster
                       23
                       24                                           RUSS, AUGUST & KABAT
                                                                    Marc A. Fenster, SBN 181067
                       25                                           mfenster@raklaw.com
                                                                    Ben Wang, SBN 228712
                       26                                           bwang@raklaw.com
                                                                    Andrew D. Weiss, SBN 232974
                       27                                           aweiss@raklaw.com
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                                SPEX’S BRIEF IN SUPPORT OF MOTION TO TAX COSTS FOR VISUAL AIDS
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                                                        #:10912

                                                               Attorneys for Plaintiff
                        1                                      SPEX TECHNOLOGIES, INC.
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                       Case 2:16-cv-07349-JVS-AGR Document 307-1 Filed 04/06/20 Page 5 of 5 Page ID
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                        1                            CERTIFICATE OF SERVICE
                        2          I hereby certify that all counsel of record who are deemed to have consented
                        3    to electronic service are being served with a copy of this document via the Court’s
                        4    CM/ECF system per Local Civil Rule 5-3.3 and 5.4
                        5
                             Dated: April 6, 2020                        /s/ Marc. A. Fenster
                        6                                                Marc A. Fenster
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                                           PURSUANT TO 28 U.S.C. § 1920(4) AND L.R. 54-3.12
